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                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Juan Luis Webber

v.                                               Case Number: 7:25−cv−00095

Home Depot U.S.A., Inc. dba Home
Depo, et al.




                                Notice of Resetting

A proceeding has been reset in this case as set forth below.

BEFORE:
Judge Ricardo H Hinojosa
LOCATION:
Bentsen Tower
1701 W. Hwy. 83
McAllen, TX 78501


DATE: 5/6/2025
TIME: 03:30 PM
TYPE OF PROCEEDING: Initial Conference


Date: April 14, 2025                                           Nathan Ochsner, Clerk
